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                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO

 COURTNEY RACHAEL MADSEN,                      Case No. ______________
 a single person,
                                               COMPLAINT FOR CIVIL
                                  Plaintiff,   RIGHTS VIOLATIONS UNDER
                                               42 U.S.C. § 1983
 vs.

 JOSHUA KAGARICE and JANE
 DOE KAGARICE, husband and wife
 and the marital community comprised
 thereof,

                              Defendants.

       COMES NOW the Plaintiff, COURTNEY RACHEL MADSEN, by and

through her attorney, DOUGLAS D. PHELPS of PHELPS & ASSOCIATES, P.S.,

and for a cause of action against the Defendant above-named alleges as follows:

                                 I. INTRODUCTION

       1.1   This is a civil action seeking compensatory and punitive damages

against the Defendant for police brutality and excessive force, for wrongful arrest

and for malicious prosecution, and for committing acts under color of law,
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depriving the Plaintiff of rights secured by the United States Constitution and the

laws of the United States.

      1.2    Defendant Joshua Kagarice, while in his capacity as a trooper with the

Idaho State Police, acted to and did in fact deprive the Plaintiff Courtney Madsen

of her constitutional rights contrary to the United States Constitution, 42 U.S.C.

Section 1983 and 1988, under the Civil Rights Act of 1971 and the common law.

      1.3    The Plaintiff suffered injury after she was aggressively and without

authority of law assaulted by Officer Joshua Kagarice while in the privacy of her

own home, then arrested without authority of law and maliciously prosecuted in

order to protect Defendant Kagarice’s unlawful conduct.

                       II. JURISDICTION AND PARTIES

      2.1    This action is brought pursuant to 42 USC Section 1983 and 1988,

under the Civil Rights Act of 1971, alleging that the Defendant acted under the color

of law, depriving the Plaintiff of her rights, privileges, and immunities as guaranteed

by the Fourth, Fifth, Eighth, and Fourteenth Amendments to the United States

Constitution.

      2.2    This Court has jurisdiction of this cause under 28 U.S.C. Sections 1331

and 1343 and 42 U.S.C. Section 1983.

      2.3    All acts and omissions complained of occurred in the District of Idaho.



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      2.4    Plaintiff Courtney Madsen was at all times relevant hereto a resident

of Kootenai County, Idaho.

      2.5    Defendant Joshua Kagarice, individually, based upon information and

belief is believed to have been a resident of Kootenai County, Idaho, at all times

material hereto and was a law enforcement officer employed by the Idaho State

Police at all times relevant to this action.

      2.6    Defendant Jane Doe Kagarice, based upon information and belief is

believed to have been a resident of Kootenai County, Idaho, at all times material

hereto and was the wife of Joshua Kagarice at all times relevant to this action.

      2.7    The venue is proper in the District of Idaho under 28 U.S.C. Section

1391 in that the Defendant and Plaintiff resided in, and the cause of action arises in,

the District of Idaho.

                             III. FACTUAL HISTORY

      3.1    On or about June 1, 2017, at approximately 0330 hours Pacific

Standard Time, Officer JOSHUA KAGARICE in full police uniform and carrying

weapons, having just finished his shift as a patrol trooper with the Idaho State

Police, received a message from JANE DOE KAGARICE that a vehicle in their

neighborhood was sounding its car alarm and keeping her and her newborn child

from sleeping.



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         3.2   Officer JOSHUA KAGARICE while in full police uniform contacted

dispatch to determine whether any other law enforcement officer had responded to

the car alarm and learned no one had been dispatched.

         3.3   Officer JOSHUA KAGARICE decided he would investigate the alarm

on his way home and arrived at COURTNEY MADSEN’s home located at 18138

West Spuler Road in Hauser, Idaho, shortly before 0400 hours Pacific Standard

Time.

         3.4   Officer JOSHUA KAGARICE investigated the vehicle alarm

believing it was a 1989 Subaru Legacy that was parked in the driveway of

COURTNEY MADSEN’s home.                  However, COURTNEY MADSEN’s 1989

Subaru Legacy did not have a battery in it and therefore it’s alarm was not

functioning.

         3.5   Also outside in COURTNEY MADSEN’s yard was her family dog.

         3.6   As Officer JOSHUA KAGARICE approached COURTNEY

MADSEN’s front door, he used his police-issued pepper spray on the family dog.

         3.7   Despite having no complaints from anyone but his wife, and not

having encountered any issues with MADSEN’s car alarm prior to this incident,

Officer JOSHUA KAGARICE knocked on MADSEN’s door to investigate what

he believed was a misdemeanor violation of a local or county ordinance relating to

noise.

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      3.8    Officer JOSHUA KAGARICE knocked forcefully on the door and

announced “State Police – Come to the door!” but received no response and after

approximately four minutes left the Madsen residence.

      3.9    During the intervening period, the car alarm reportedly stopped.

      3.10 Conducting further investigation, Officer JOSHUA KAGARICE

learned the Subaru was registered to a “Craig King and Courtney Madsen” through

use of the Idaho State Police records check.

      3.11 At approximately 1717 hours Pacific Standard Time Officer JOSHUA

KAGARICE in an Idaho State Police uniform returned to the home of COURTNEY

MADSEN.

      3.12 At the time he arrived and during the subsequent encounter with the

Plaintiff, the Subaru’s car alarm was not sounding.

      3.13 Upon knocking on the door, Officer JOSHUA KAGARICE was met

by COURTNEY MADSEN, who was dressed in her sleeping attire.

      3.14 A screen door to the residence physically separated the two from each

other and was closed but not locked.

      3.15 Officer JOSHUA KAGARICE identified himself as an officer with the

Idaho State Police and said he had responded to her car alarm during the morning

and was allegedly continuing an investigation of a noise ordinance violation.



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      3.16 COURTNEY MADSEN informed Officer JOSHUA KAGARICE that

she had reviewed her surveillance video from the morning and was very upset that

he had used his pepper spray on her family dog.

      3.17 COURTNEY MADSEN also informed Officer JOSHUA KAGARICE

that she was coming to the door at the same time he was leaving earlier that

morning.

      3.18 Officer JOSHUA KAGARICE demanded she identify herself.

      3.19 COURTNEY MADSEN, still standing behind the closed screen door,

informed him that her name was “Courtney” but declined to provide additional

information.

      3.20 Officer JOSHUA KAGARICE on several occasions told COURTNEY

MADSEN that her failure or refusal to identify herself would result in her arrest, as

he was investigating a misdemeanor and the law required her to identify herself

upon demand.

      3.21 COURTNEY MADSEN expressed confusion about why she would be

arrested and what misdemeanor crime he was investigating.

      3.22 Officer JOSHUA KAGARICE then demanded COURTNEY

MADSEN exit her residence as she was under arrest, which she refused to do.




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      3.23 Officer JOSHUA KAGARICE then, without lawful authority, entered

COURTNEY MADSEN’s home, physically grabbed her and placed handcuffs on

her wrists, restraining her movement.

      3.24 Officer JOSHUA KAGARICE then placed COURTNEY MADSEN

in the back seat of his police vehicle and proceeded to the county jail where

COURTNEY MADSEN was booked into jail on charges of resisting arrest and

obstructing a law enforcement officer, based on Officer JOSHUA KAGARICE’s

claims that she had refused to fully identify herself and her refusal to exit her home.

      3.25 A probable cause affidavit authored by Officer JOSHUA KAGARICE

was submitted to the First Judicial District Court, initiating the criminal case State

of Idaho v. Courtney Rachel Madsen, Case No. CR-2017-9215, for charges of

resisting arrest and obstructing a law enforcement officer.

      3.26 Sometime after the arrest of COURTNEY MADSEN, the Idaho State

Police requested the Kootenai County Sheriff’s Office to investigate the incident

between Officer JOSHUA KAGARICE and COURTNEY MADSEN to determine

whether an unlawful arrest or an assault occurred.

      3.27 The investigation by the Kootenai County Sheriff’s Office determined

Officer JOSHUA KAGARICE did in fact commit an unlawful arrest and a probable

cause affidavit authored by Sheriff’s Detective Ryan Duncan was submitted to the

First Judicial District Court, initiating the criminal case State of Idaho v. Joshua

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Paul Kagarice, Case No. CR-2017-21189, for the charge of committing an unlawful

arrest.

          3.28 COURTNEY MADSEN was injured as a result of Officer JOSHUA

KAGARICE’s negligence, violation of her constitutional rights under the 4th and

14th Amendments to the U.S. Constitution, and lack of knowledge, training and

supervision relating to basic police procedure, including use of force and restraining

a non-violent suspect.

                  IV. CAUSE OF ACTION FOR VIOLATION OF
                   PLAINTIFF’S CONSTITUTIONAL RIGHTS
                      UNDER COLOR OF LAW PURSUANT
                TO 42 USC 1983 (THE CIVIL RIGHTS ACT), THE
                 U.S. CONSTITUTION AND THE IDAHO STATE
                               CONSTITUTION

          Plaintiff COURTNEY MADSEN re-alleges and incorporates paragraphs 3.1

to 3.28 as paragraphs 4.1 to 4.28.

          4.29 The Defendant caused or failed to prevent injury to COURTNEY

MASDSEN in violation of her rights under 42 USC 1983.

          4.30 As a result of the deprivations and violations to COURTNEY

MADSEN’s rights, she has suffered and continues to suffer injury as a result,

including but not limited to physical, psychological, and emotional injuries.

          4.31 COURTNEY MADSEN was subjected to unlawful and unreasonable

force by Officer JOSHUA KAGARICE. There was no substantial government


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interest in using such significant force to effect COURTNEY MADSEN’s arrest for

ordinance/infraction violations that are nonviolent and minor in nature.

      4.32 Officer JOSHUA KAGARICE used excessive force in his arrest and

detention of COURTNEY MADSEN in violation of the Fourth Amendment to the

United States Constitution.

      4.33 Officer JOSHUA KAGARICE violated COURTNEY MADSEN’s

Fourth and Fourteenth Amendment rights when he entered her home and seized her

without a lawful basis or warrant.

      4.34 As a result of the actions or inactions of Officer JOSHUA

KAGARICE, Plaintiff COURTNEY MADSEN suffered and continues to suffer

injury, including but not limited to, injuries that are physical, psychological, and

emotional.

      4.35 Officer JOSHUA KAGARICE acted with malice, was reckless and he

also acted with a callous indifference to COURTNEY MADSEN’s rights pursuant

to the Fourth and Fourteenth Amendments to the Constitution of the United States.

      4.36 That as a result of the violations to COURTNEY MADSEN’s

constitutional rights, she has suffered and continues to suffer injury as a result.

             V. FALSE ARREST AND FALSE IMPRISONMENT

      Plaintiff COURTNEY MADSEN re-alleges and incorporates paragraphs 3.1

to 3.28 as paragraphs 5.1 to 5.28.

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      5.29 Officer JOSHUA KAGARICE, by the exercise of force or by an

express or implied threat of force, arrested Plaintiff COURTNEY MADSEN by

restraining, confining and/or detaining plaintiff’s personal liberty when he placed

his hands upon her person and physically manipulated her arms behind her back,

placing handcuffs on her wrists.

      5.30 Officer JOSHUA KAGARICE acted intentionally in arresting plaintiff

COURTNEY MADSEN.

      5.31 Officer JOSHUA KAGARICE acted unlawfully.

      5.32 The arrest was against the will and without the consent of Plaintiff

COURTNEY MADSEN.

      5.33 As a result of the false arrest and false imprisonment, Plaintiff

COURTNEY MADSEN suffered damages.

                                    VI. BATTERY

      Plaintiff COURTNEY MADSEN re-alleges and incorporates paragraphs 3.1

to 3.28 as paragraphs 6.1 to 6.28.

      6.29 Officer JOSHUA KAGARICE intentionally touched Plaintiff

COURTNEY MADSEN when he physically restrained her.

      6.30 Plaintiff COURTNEY MADSEN did not permit or consent to the

touching and in fact protested Officer JOSHUA KAGARICE’s actions.

      6.31 Officer JOSHUA KAGARICE knew the touching was not permitted.

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         6.32 The touching was unlawful, harmful and offensive.

                        VII. MALICIOUS PROSECUTION

         Plaintiff COURTNEY MADSEN re-alleges and incorporates paragraphs 3.1

to 3.28 as paragraphs 7.1 to 7.28.

         7.29 Plaintiff COURTNEY MADSEN was prosecuted in State of Idaho v.

Courtney Rachel Madsen, Case No. CR-2017-9215, for charges of resisting arrest

and obstructing a law enforcement officer.

         7.30 The prosecution of COURTNEY MADSEN was terminated in her

favor.

         7.31 The prosecution of COURTNEY MADSEN was instigated by Officer

JOSHUA KAGARICE’s false claims.

         7.32 Officer JOSHUA KAGARICE was activated by malice.

         7.33 Officer JOSHUA KAGARICE had not established probable cause,

and there was in fact a lack of probable cause, to arrest Plaintiff COURTNEY

MADSEN.

         7.34 The malicious prosecution of COURTNEY MADSEN caused her to

sustain damages in an amount to be proven at trial.

                               VIII. JURY DEMAND

         8.29 Plaintiff demands a jury on all issues so triable.



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                                   IX. RELIEF SOUGHT

          WHEREFORE, the Plaintiff prays for judgment against the Defendants,

jointly and severally, in an amount that will fairly compensate the Plaintiff for all

damages sustained, costs, and reasonable attorneys’ fees and costs, interest

calculated at the maximum amount allowable by the law, and any other relief the

Court deems just, including but not limited to:

              a. Past and future medical expenses.
              b. Past and future emotional and psychological counseling costs.
              c. Past and future loss of earnings.
              d. Permanent and partial impairment of earnings and earning capacity.
              e. Pain and suffering.
              f. Past and future permanent and partial disability.
              g. Loss of enjoyment of life.
              h. Past and future special damages.
              i. Interest calculated at the maximum amount allowable by law,
                 including prejudgment interest.
              j. Injunctive relief to prevent future actions to protect others similarly
                 situated.
              k. Injunctive relief prohibiting Officer Joshua Kagarice from being
                 employed as a law enforcement officer without proper retraining and
                 supervision.
              l. Punitive damages.
              m. Actual or compensatory damages.
              n. Presumed damages.
              o. Nominal damages.
              p. Attorneys’ fees and cost.
              q. Cost and disbursements herein in an amount to be proven at the time
                 of trial.
              r. Such other relief as the Court believes is equitable and just.

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    Dated this 23rd day of May, 2019 at Spokane, Washington.

                                        PHELPS & ASSOCIATES, P.S.
                                        Attorneys for Plaintiff


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